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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION (COLUMBUS)


LANDSTAR RANGER, INC.,                            )
                                                  )
                       Plaintiff,                 )   CASE NO. 2:22-CV-02008
                                                  )
       vs.                                        )   JUDGE ALGENON L. MARBLEY
                                                  )
THE CITY OF DELAWARE, OHIO,                       )   MAGISTRATE JUDGE ELIZABETH P.
                                                  )   DEAVER
                       Defendant.                 )
                                                  )
                                                  )
                                                  )
                                                  )

                 PLAINTIFF LANDSTAR RANGER, INC.’S MOTION
             FOR LEAVE TO FILE, INSTANTER, AMENDED COMPLAINT

       Pursuant to Fed. R. Civ. P. 15(a) and Local Rule 7.3(b), Landstar Ranger, Inc. (“Landstar”)

respectfully moves for leave to file, instanter, to file its Amended Complaint, a copy of which is

attached hereto as EXHIBIT 1 and incorporated herein by reference. Fed. R. Civ. P. 15(a)(2)

provides that “[t]he court should freely give leave when justice so requires.” Leave of Court is

fully warranted because leave is being requested timely, in good faith, is not futile, and is without

prejudice to Defendant the City of Delaware, Ohio (“Defendant”).

       Pursuant to Local Rule 7.3.(b), Landstar requested Defendant’s consent to file its Amended

Complaint, but Defendant refused to give its consent. Accordingly, Landstar requests that the

Amended Complaint be deemed filed as of the date this motion is granted. The supporting reasons

for this motion are more fully set forth in the attached Memorandum in Support.




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                                                Respectfully submitted,


                                               s/ Marc S. Blubaugh
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                                               Attorneys for Plaintiff Landstar Ranger, Inc.




                               MEMORANDUM IN SUPPORT

I.     INTRODUCTION

       A.      Factual Background

       Landstar is a transportation services company specializing in, among other things,

transporting its customers’ freight as well as arranging for the transportation of its customers

freight through its North American network of motor carriers. Defendant is a political subdivision

under R.C. § 125.04(d) and is located in Delaware County, Ohio.

       On or about March 9, 2021, a Landstar tractor-trailer hauling its customer’s industrial

cooling unit (the “Cargo”) passed through the City of Delaware via State Route 37 West and US

Route 36 West, during which the Landstar tractor-trailer was required to pass under a railroad

bridge (the “Bridge”). The clearance height of the Bridge was Fourteen (14) feet One (1) inch.

The combined heigh of Landstar’s trailer and its customer’s Cargo was Fourteen (14) feet Six (6)

inches. When the Landstar tractor-trailer passed under the Bridge, the Cargo struck the bridge,


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rendering the Cargo a total loss. Defendant negligently failed to warn Landstar’s driver of the low

clearance height of the Bridge, which it was required to do by law.

       After the Cargo was destroyed, Landstar paid its customer Two Hundred Seventy-Seven

Thousand Three Hundred Eighty-Four Dollars and Thirty Cents ($277,384.30) to settle its

customer’s cargo claim. In exchange for Landstar’s payment, Landstar’s customer assigned to

Landstar all of the customer’s “right, title, and interest in and to all Claims related in any way to

the Shipment…” (the “Assignment of Claim”). A true and accurate copy of the Assignment of

Claim is attached to the Amended Complaint as EXHIBIT A.

       B.      Procedural Background

       On April 20, 2022, Landstar filed a Complaint (Doc #1) against Defendant, asserting a

claim for negligence under common law and R.C. § 2744.02(B)(3). Landstar’s claim was based

on Defendant’s negligent failure to warn Landstar’s driver of the Bridge’s low clearance as

required by the Ohio Manual of Uniform Traffic Control Devices. On May 20, 2022, Defendant

filed its Answer (Doc #12), denying Landstar’s substantive allegations and asserting affirmative

defenses.

       Neither party has yet issued discovery in this case. On July 11, 2022, Defendant filed a

Motion for Judgment on the Pleadings (Doc #16), which asserts that the Defendant is entitled to

judgment as a matter of law based on the pleadings because Landstar’s Complaint does not allege

damage to Landstar’s own property, and that, accordingly, Landstar’s negligence claim is barred

by the economic loss doctrine.

       Landstar submits that the Amendment of its Complaint to plead specific facts regarding

the Assignment of Claim cures any perceived pleading defect that the Defendant alleges exists.




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Because Landstar received the Assignment of Claim, it stands in the shoes of its customer and can

prosecute a negligence action for damage to property.

II.    LAW AND ARGUMENT

       Federal Rule of Civil Procedure 15(a)(2) provides that leave to amend pleadings “shall be

freely given when justice so requires.” Midkiff v. Adams Cty. Reg’l Water Dist., 409 F.3d 758,

767 (6th Cir. 2005) (quoting Fed. R. Civ. P. 15(a)). The Sixth Circuit has held that “though the

decision to grant leave to amend is committed to the trial court’s discretion, that discretion is

limited by Fed. R. Civ. P. 15(a)’s liberal policy of permitting amendments…” Marks v. Shell Oil

Co., 830 F.2d 68, 69 (6th Cir. 1987). “In general, the Sixth Circuit is ‘very liberal’ in permitting

amendments.” United States ex rel American Textile Mfrs. Inst., Inc. v. The Limited. Inc., 179

F.R.D. 541, 550 (S.D.Ohio 1998), affd. 190 F.3d 729 (6th Cir.1999). The trial court’s discretion

is “limited by Fed.R.Civ.P. 15(a)’s liberal policy of permitting amendments to ensure the

determination of claims on their merits.” Marks, 830 F.2d at 69 (citation omitted).

       Indeed, leave to amend a pleading should only be denied in situations where there is undue

delay, futility of amendment, repeated failure to cure deficiencies by amendments previously

allowed, bad faith, dilatory motive on the part of the movant, or undue prejudice to the opposing

party by virtue of allowing the amendment. Foman v. Davis, 371 U.S.178, 182 (1962); Seals v.

Gen. Motors Corp., 546 F.3d 766, 770 (6th Cir. 2008); Brumbalough v. Camelot Care Centers,

Inc., 427 F.3d 996, 1001 (6th Cir. 2005). As discussed more in-depth below, none of those

situations are present here.

       A. No Undue Delay or Dilatory Motive

       This motion is not made with dilatory motive or after undue delay, and in fact, Landstar

wishes to move this lawsuit along expeditiously. As stated above, Landstar’s Complaint asserts a

negligence claim against the Defendant arising out of the destruction of Landstar’s customer’s
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cargo. Defendant’s motion argues that the economic loss doctrine forecloses such a claim, because

Landstar’s loss, it argues, is purely economic. Landstar seeks leave to amend its Complaint to

plead that it received the Assignment of Claim, which Landstar submits cures any perceived

deficiency in Landstar’s Complaint. See Cadence Bank, N.A. v. Hurl, Case No. 2:20-cv-6403,

2022 WL 769506, at *7 (S.D. Ohio Mar. 14, 2022) citing Chrysler Fin. Co. v. Wilkins, 812 N.E.2d

948, 952 (Ohio 2004) (“[A]n assignee ... of a claim stands in the shoes of the assignor ... and

succeeds to all the rights and remedies of the latter.”); Nationwide Mut. Ins. Co. v.

Zimmerman, Stark App. No. 2004 CA 00007, 2004-Ohio-7115, 2004 WL 3038032, ¶ 16 (“where

the insured’s claim against a tortfeasor is based on negligence, the insurer’s subrogated claim is

also necessarily based on negligence, rather than on the insurance contract”).

       B.      No Bad Faith, Futility of Amendment, or Repeated Failures to Cure
               Deficiencies

       Landstar makes this motion and asserts additional facts against Defendant in good faith.

Further, permitting Landstar’s amendment is not futile as Landstar’s Amended Complaint cures

perceived deficiencies identified by Defendant, and alleges facts that bolster Landstar’s claim by,

among other things, alleging that Landstar received the Assignment of Claim, which functions as

the equivalent of a subrogation receipt.

       To the extent the Court would be inclined to grant Defendant’s motion based on the

allegations in Landstar’s original Complaint, Landstar submits that its Amended Complaint could

withstand a motion to dismiss or a motion for judgment on the pleadings. See Hammons v.

Barkdull, 460 F.Supp.3d 687, 691 (E.D. Ky. 2020) (a motion for leave should not be denied if the

court concludes that the pleading as amended could withstand a motion to dismiss or a motion for

judgment on the pleadings).

       C.      No prejudice to Defendant

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       This motion is made without prejudice to Defendant. “To deny a motion to amend, a court

must find at least some significant showing of prejudice to the opponent.” Ziegler v. Aukerman,

512 F.3d 777, 786 (6th Cir. 2008) (internal quotations omitted). As previously stated, this Motion

is not brought after undue delay, the parties still have several months to conduct and complete

discovery. and Defendant has ample time to prepare its defenses. Thus, Defendant will suffer

absolutely no prejudice. Accordingly, Landstar respectfully requests that the Court grant this

motion.

III.   CONCLUSION

       As detailed above, Landstar has not caused any delay in this case, nor does it bring this

motion in bad faith. Landstar maintains in good faith that the Amended Complaint cures any

deficiency, real or perceived, in its original Complaint, by specifically alleging that it received the

Assignment of Claim, and that Landstar, is, therefore, properly prosecuting this case for damage

to property. Based on the Sixth Circuit’s liberal interpretation of Fed. Civ. R. P. 15(a), justice

requires that Landstar be granted leave to allege facts regarding the Assignment of Claim. Leave

is warranted because leave is being requested timely, is not futile, is in good faith, and is without

prejudice to Defendant.




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                                             Respectfully submitted,


                                             s/ Marc S. Blubaugh
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                                             Attorneys for Plaintiff Landstar Ranger, Inc.




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                                   CERTIFICATE OF SERVICE

        I hereby certify that, on this 2nd day of August, 2022, a copy of the foregoing document was

electronically filed with the Court’s electronic filing system, which will provide notice of the same

to all parties indicated on the electronic filing receipt.


                                                 s/ Marc S. Blubaugh
                                                 Marc S. Blubaugh (0068221)
                                                 Attorney for Plaintiff Landstar Ranger, Inc.




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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


LANDSTAR RANGER, INC.,                           ) CASE NO. 2:22-CV-02008
13410 Sutton Park Drive, South                   )
Jacksonville, FL 32245,                          ) FIRST AMENDED COMPLAINT
                                                 )
                      Plaintiff,                 ) (JURY DEMAND ENDORSED HEREON)
                                                 )
        vs.                                      )
                                                 )
THE CITY OF DELAWARE, OHIO,                      )
South Sandusky Street                            )
Delaware, OH 43015,                              )
                                                 )
                      Defendant.                 )


        Plaintiff Landstar Ranger, Inc. (“Landstar”), for its Complaint against the City of

Delaware (“Delaware”), states as follows:

                           PARTIES, JURISDICTION, & VENUE

        1.     Landstar is a Delaware corporation with a principal place of business in

Jacksonville, Florida, and is, therefore, a citizen of the State of Delaware and the State of

Florida. Landstar is a transportation services company specializing in, among other things,

transporting its customers’ freight and arranging for the transportation of its customers’ freight

through its North American network of motor carriers.

        2.     Delaware is a political subdivision, as that term is defined in R.C. § 125.04(d), in

Delaware County, Ohio and is, therefore, a citizen of the State of Ohio.

        3.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)

because this is a civil action where the amount in controversy exceeds the sum of Seventy-Five




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Thousand Dollars ($75,000.00), exclusive of interest and costs, and is between citizens of

different states.

          4.    This Court has jurisdiction over Delaware because Delaware is a resident of this

state.

          5.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1)-(2) because this

is a judicial district in which Delaware resides and in which a substantial part of the events or

omissions giving rise to claim set forth below occurred.

                            FACTS COMMON TO ALL COUNTS

          6.    On or around March 9, 2021, a tractor-trailer operated by a Landstar driver (the

“Driver”) departed from Norton, Ohio en route to Phoenix, Arizona, transporting an industrial

cooling unit (the “Cargo”) on behalf of its customer.

          7.    The Driver’s route passed through the City of Delaware via State Route 37 West

and US Route 36 West, during which the Driver was required to pass under a railroad bridge (the

“Bridge”).

          8.    The clearance height of the Bridge was Fourteen (14) feet One (1) inch.

          9.    The combined height of the Driver’s trailer and Cargo was Fourteen (14) feet (6)

inches.

          10.   Delaware negligently failed to adequately warn the Driver of the Bridge’s low

clearance by erecting a low clearance traffic control device as required by law.

          11.   The Driver and the Cargo struck the Bridge, which caused significant physical

damage to the Cargo, ultimately rendering it a total loss.

          12.   After the Cargo was rendered a total loss, Landstar’s customer filed a cargo claim

with Landstar, indicating that the damage to the Cargo injured the customer in the amount of



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Two Hundred Seventy-Seven Thousand Three Hundred Eighty-Four Dollars and Thirty Cents

($277,384.30).

        13.      Landstar paid its customer the amount of Two Hundred Seventy-Seven Thousand

Three Hundred Eighty-Four Dollars and Thirty Cents ($277,384.30) to satisfy the customer’s

cargo claim.

        14.      In exchange for Landstar’s payment to its customer, the Customer expressly

granted, conveyed, and assigned to Landstar in writing all of the customer’s “right, title, and

interest in and to all Claims related in any way to the Shipment…” that the customer had against

any entity. (the “Assignment of Claim”). A true and accurate copy of the Assignment of Claim

is attached hereto as EXHIBIT A.

        15.      As a direct and proximate result of Delaware’s negligence, Landstar, as the

assignee of its customer’s claim pursuant to the Assignment of Claim, has been damaged in the

amount of Two Hundred Seventy-Seven Thousand Three Hundred Eighty-Four Dollars and

Thirty Cents ($277,384.30).

                                          COUNT I
                      (Negligence -- Common law and R.C. § 2744.02(B)(3))

        16.      Landstar incorporates by reference each of the foregoing paragraphs as if fully

restated here.

        17.      Delaware owed Landstar and Landstar’s customer a duty to carry out its

governmental functions with reasonable care by, among other things, keeping public roads

within its jurisdiction in repair, implementing traffic control devices as necessary to warn and

guide traffic, and complying with the mandatory standards of the Ohio Manual of Uniform

Traffic Control Devices (the “Manual”).

        18.      “Public roads” include traffic control devices that are mandated by the Manual.


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        19.    The Manual mandates that political subdivisions erect a low clearance device on

or in advance of structures to warn road users of clearances less than 12 inches above the

statutory maximum vehicle height.

        20.    The statutory maximum vehicle height is Thirteen (13) feet Six (6) inches.

        21.    Delaware breached its duty by failing to keep the roads within its jurisdiction in

repair, failing to implement a low clearance device in the approaches to the Bridge, and failing to

otherwise comply with the mandatory standards of the Manual.

        22.    As a direct and proximate result of Delaware’s breach of its duties, Landstar, as

an assignee of its customer’s claim pursuant to the Assignment of Claim, has sustained damages

in the amount of Two Hundred Seventy-Seven Thousand Three Hundred Eighty-Four Dollars

and Thirty Cents ($277,384.30), plus accruing interest.

        23.    Accordingly, Landstar, as assignee of its customer’s claim pursuant to the

Assignment of Claim, is entitled to recover from Delaware in the amount of Two Hundred

Seventy-Seven Thousand Three Hundred Eighty-Four Dollars and Thirty-Nine Cents

($277,384.30), plus accruing interest.

        WHEREFORE, Landstar demands judgment in its favor and against Delaware as follows:

        1.     On Count I, judgment in an amount to be proven at trial, but at least Two Hundred

               Seventy-Seven Thousand Three Hundred Eighty-Four Dollars and Thirty Cents

               ($277,384.30), plus interest, costs, and attorneys’ fees.

        2.     All other relief in law and equity to which Landstar is entitled.




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                                       Respectfully submitted,


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                                      JURY DEMAND

        Landstar demands a jury trial on all issues so triable, by the maximum number of jurors

permitted by law.

                                               Respectfully submitted,


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